     Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 1 of 45 Page ID #1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

    Frank Gonzalez,                                  )
                                                     )
             Plaintiff,                              ) Civil Case No.:
                                                     )
    v.                                               ) Judge:
                                                     )
    SYNGENTA CROP PROTECTION                         ) COMPLAINT
    LLC, SYNGENTA AG and CHEVRON                     )
    U.S.A., INC.,                                    )
                                                     )
             Defendant.                              )
                                                     )



                                             COMPLAINT

            Plaintiff Frank Gonzalez (“Plaintiff”) brings this Complaint against Defendants, Syngenta

Crop Protection LLC, Syngenta AG, and Chevron U.S.A., Inc. (collectively “Defendants”), and

allege as follows:

                                      I.   SUMMARY OF THE CASE

         1. The manufacturers and sellers of paraquat deliberately concealed the dangers of paraquat

            for at least four decades, hid evidence of its dangers from government safety agencies, and

            knowingly unleashed a product they knew caused Parkinson’s Disease on the public.

         2. Paraquat is a synthetic chemical compound1 that, since the mid‐1960s, has been developed,

            registered, manufactured, distributed, sold for use, and used as an active ingredient in

            herbicide products (“paraquat products”) developed, registered, formulated, distributed,

            and sold for use in the United States (“U.S.”), including the State(s) of Arizona (“the

            State(s) of Exposure”).


1
 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA
Pesticide Chemical Code 061602).
    Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 2 of 45 Page ID #2




     3. From approximately May 1964 through approximately June 1981, Imperial Chemical

        Industries Limited (“ICI Limited”) and certain ICI Limited subsidiaries,2 and from

        approximately June 1981 through approximately September 1986, Imperial Chemical

        Industries PLC (“ICI PLC”) and certain ICI PLC subsidiaries, each of which was a

        predecessor3 of Defendant Syngenta AG (“SAG”) and/or Defendant Syngenta Crop

        Protection LLC (“SCPLLC”), were engaged, directly, acting in concert with each other,

        and/or acting in concert with Chevron Chemical Company, previously known as California

        Chemical Company (“CHEVRON”), in the business of developing, registering,

        manufacturing, distributing, and selling paraquat for use as an active ingredient in paraquat

        products, and developing, registering, formulating, and distributing paraquat products, for

        sale and use in the U.S., including the State(s) of Exposure (“the U.S. paraquat business”).

     4. From approximately May 1964 through approximately September 1986, CHEVRON, a

        predecessor of Defendant CHEVRON U.S.A., INC. (“CUSA”), was engaged, directly

        and/or acting in concert with ICI,4 in all aspects of the U.S. paraquat business.

     5. Between approximately May 1964 and approximately September 1986, ICI manufactured

        and sold to CHEVRON paraquat (“ICI‐CHEVRON paraquat”) for use by CHEVRON, and

        others to which CHEVRON distributed it, as an active ingredient in paraquat products that

        CHEVRON and others formulated and distributed for sale and use in the U.S. (“ICI‐



2
  As used in this Complaint, “subsidiary” means a corporation or other business entity’s wholly‐
owned subsidiary that is or formerly was engaged in the U.S. paraquat business directly or acting
in concert with others.
3
  As used in this Complaint, “predecessor” means a corporation or other business entity or
subsidiary thereof, to which a Defendant is a successor by merger, continuation of business, or
assumption of liabilities, that formerly was engaged in the U.S. paraquat business directly or acting
in concert with others.
4
  As used in this Complaint, “ICI” means ICI Limited and various ICI Limited subsidiaries through
approximately June 1981 and ICI PLC and various ICI PLC subsidiaries thereafter.
                                                  2
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 3 of 45 Page ID #3




    CHEVRON paraquat products”), including the State(s) of Exposure. The paraquat products

    formulated and distributed for sale and use in the U.S. by CHEVRON between May 1964

    and approximately 1986 were still in distribution for sale and use in the U.S., including the

    State(s) of Exposure, up and through the year 1989.

 6. From approximately September 1986 through the present, ICI PLC and certain ICI PLC

    subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors

    and certain subsidiaries of each (including predecessors of SCPLLC), and most recently

    SAG and certain SAG subsidiaries (including SCPLLC), have been engaged, directly

    and/or acting in concert with each other, in all aspects of the U.S. paraquat business.

 7. From approximately September 1986 through the present, ICI PLC and certain ICI PLC

    subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors

    and certain subsidiaries of each (including predecessors of SCPLLC), and most recently

    SAG and certain SAG subsidiaries (including SCPLLC), have manufactured paraquat

    (“ICI‐SYNGENTA paraquat”) for their own use, and for use by others to which they

    distributed it, as an active ingredient in paraquat products that SCPLLC and its

    predecessors and others have distributed for sale and use in the U.S., including the State(s)

    of Exposure (“ICI‐SYNGENTA paraquat products”).

 8. Upon information and belief, Plaintiff used ICI‐CHEVRON paraquat products and/or ICI‐

    SYNGENTA paraquat products (collectively, “Defendants’ paraquat products”).

 9. Upon information and belief, Plaintiff used Defendants’ paraquat products regularly and

    frequently over a period of many years.

 10. As a result of Plaintiff’s many years of regular, frequent, and prolonged exposure to

    Defendant’s paraquat products, Plaintiff contracted Parkinson’s disease.



                                              3
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 4 of 45 Page ID #4




 11. Plaintiff brings this case to recover from Defendants, under the following theories of

    liability, compensation for injuries and damages caused by the exposure of Plaintiff to

    paraquat from Defendants’ paraquat products, plus costs of suit: strict product liability—

    design defect; strict product liability—failure to warn; negligence; breach of express

    warranties and implied warranty of merchantability; violations of the consumer fraud and

    deceptive business practices act; and fraudulent misrepresentation.

                                        II.     PARTIES

 A. Plaintiff

 12. Plaintiff is a resident of Arizona (“State of Residence”).

 13. Plaintiff was born on or around 8/1/1953. They were regularly exposed to Defendants’

    paraquat products throughout their life in the State(s) of Exposure.

 14. Plaintiff came into contact with Defendants’ products between 1968-1976.

 15. Plaintiff touched, absorbed, inhaled, inadvertently ingested, or otherwise came into contact

    with Defendants’ paraquat products for 8 years while they were either mixing, loading,

    spraying, handling, or otherwise coming into contact with Defendants’ paraquat products.

 16. Each exposure of Plaintiff to Defendants’ paraquat products caused or contributed to

    causing Plaintiff s’ development of Parkinson’s disease, with which they were diagnosed

    with on or about 2012.

 17. Plaintiff’s exposure initiated a decades‐long process in which oxidation and oxidative

    stress, created or aggravated by the ongoing redox cycling of paraquat, damaged and

    interfered with essential functions of dopaminergic neurons in their SNpc, resulting in the

    ongoing degeneration and death, as time passed, of progressively more dopaminergic

    neurons.



                                               4
    Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 5 of 45 Page ID #5




     18. Defendants, and those with whom they were acting in concert, manufactured and

        distributed the paraquat that was used in formulating Defendants’ paraquat products and to

        which Plaintiff was exposed, and formulated and distributed Defendants’ paraquat

        products that contained the paraquat to which Plaintiff was exposed, intending or expecting

        that these products would be sold and used in the State(s) of Exposure.

     19. When Plaintiff was exposed to paraquat, they neither knew nor could have expected that

        paraquat was neurotoxic or that exposure to it could cause any neurological injury or

        neurodegenerative disease.

     20. When Plaintiff was exposed to paraquat, they neither knew nor could have expected that

        wearing gloves, a mask, or other personal protective equipment or taking any other

        precautions might have prevented or reduced the risk of a neurological injury or

        neurodegenerative disease caused by exposure to paraquat.

     21. Plaintiff only recently learned that paraquat caused Plaintiff’s injuries. Prior to this, they

        did not have knowledge of any facts that would have put them on notice that Plaintiff’s

        Parkinson’s Disease was due to Defendants’ product nor has there been widespread media

        coverage that put them on notice.

     22. Plaintiff did not know and was unable to learn of the connection between Defendants’

        product and Plaintiff’s injuries due to the concealment of the information by Defendants

        and its ongoing public campaign stating there is no connection between paraquat and

        Parkinson’s Disease.5




5
 See www.paraquat.com, https://www.paraquat.com/en/safety/safety-humans/paraquat-and-
parkinsons-disease, and https://www.syngenta.com/sites/syngenta/files/pdf/a-review-of-
rviews.pdf (last visited on 10/20/2023).
                                                   5
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 6 of 45 Page ID #6




 23. Statements that Defendants intended Plaintiff and other members of the public to rely on

    when they knew or should have known were either not true or misleading.

 B. Defendants

 24. SCPLLC is a Delaware limited liability company with its principal place of business in

    Greensboro, North Carolina. SCPLLC is a wholly‐owned subsidiary of Defendant SAG.

 25. SAG is a foreign corporation with its principal place of business in Basel, Switzerland.

 26. CUSA is a Pennsylvania corporation with its principal place of business in San Ramon,

    California.

                                    III.    JURISDICTION

 27. This Court has subject matter jurisdiction over this action because diversity jurisdiction

    exists under 28 U.S.C. § 1332(a)(3).

 28. The matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

    costs, because Plaintiff seeks an amount that exceeds this sum or value on each of their

    claims against Defendants.

 29. Complete diversity exists because this is an action between citizens of different states in

    which a citizen or subject of a foreign state is an additional party, in that:

        a. Plaintiff is a citizen of the State of Residence;

        b. SCPLLC is a citizen of the States of Delaware and North Carolina;

        c. CUSA is a citizen of the States of Pennsylvania and California; and

        d. SAG is a citizen or subject of the nation of Switzerland.


 30. This Court has personal jurisdiction over each of the Defendants in this diversity case

    because a state court in the State(s) of Exposure would have such jurisdiction, in that:

        a. Over a period of two (Chevron) to six (Syngenta) decades, each Defendant and/or
            its predecessor(s), together with those with whom they were acting in concert,

                                               6
  Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 7 of 45 Page ID #7




              manufactured paraquat for use as an active ingredient in paraquat products,
              distributed paraquat to formulators of paraquat products, formulated paraquat
              products, marketed paraquat products to the agricultural community of the State(s)
              of Exposure and/or State of Residence, and/or distributed paraquat products,
              intending that such products regularly would be, and knowing they regularly were,
              sold and used in the State(s) of Exposure and/or State of Residence;

          b. Plaintiff’s claims against each Defendant arise out of these contacts between the
              Defendant and/or its predecessor(s), together with those with whom they were
              acting in concert, with the State(s) of Exposure and/or State of Residence; and

          c. These contacts between each Defendant and/or its predecessors, together with those
              with whom they were acting in concert, and the State(s) of Exposure and/or State
              of Residence , were so regular, frequent, and sustained as to provide fair warning
              that it might be hauled into court there, such that requiring it to defend this action
              in the State(s) of Exposure and/or State of Residence does not offend traditional
              notions of fair play and substantial justice.

                                           IV.       VENUE

   31. Venue is proper in this district because this Complaint is being filed directly into MDL No.

      3004 in accordance with CMO 1. Should this case be remanded, its proper venue would be

      the District of Arizona under 28 U.S.C. § 1391(b) because a substantial part of the events

      or omissions giving rise to the claim occurred in that district, in that Plaintiff’s claims arise

      from injuries caused by the exposure of Plaintiff to paraquat from paraquat products that

      were distributed and sold for use in that district, were purchased or purchased for use in

      this district, and were being used in this district when the exposures that caused the injuries

      occurred.

   32. The filing of this Complaint in the Southern District of Illinois is not intended as a waiver

      of any rights relating to Lexecon, venue, or choice of law. To the contrary, Plaintiff

      expressly reserves any Lexecon rights or rights relating to venue or choice of law.



             V.      ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A. Defendants and their predecessors

                                                 7
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 8 of 45 Page ID #8




 a. Syngenta Crop Protection LLC and Syngenta AG

 33. SAG is the successor in interest to the crop‐protection business of each of its predecessors,

    AstraZeneca PLC (“AstraZeneca”), Zeneca Group PLC (“Zeneca Group”), ICI PLC, ICI

    Limited, and Plant Protection Limited (“PP Limited”) and their respective crop‐protection

    subsidiaries (collectively, “SAG’s predecessors”), in that:

        a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
            change by, de facto consolidation or merger of, or mere continuation of, its
            immediate predecessor(s); and/or

        b. SCPLLC has expressly or impliedly agreed to assume any liability on claims arising
            from the historical operation of the crop‐protection business of each of SCPLLC’s
            predecessors.

 34. SCPLLC is the successor in interest to the crop‐protection business of each of its

    predecessors, Syngenta Crop Protection, Inc. (“SCPI”), Zeneca Ag Products, Inc. (“Zeneca

    Ag”), Zeneca, Inc. (“Zeneca”), ICI Americas, Inc. (“ICIA”), ICI United States, Inc. (“ICI

    US”), and ICI America Inc. (“ICI America”) (collectively, “SCPLLC’s predecessors”), in

    that:

        a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
            change by, de facto consolidation or merger of, or mere continuation of, its
            immediate predecessor(s); and/or

        b. SCPLLC has expressly or impliedly agreed to assume any liability on claims arising
            from the historical operation of the crop‐protection business of each of SCPLLC’s
            predecessors.

 35. At all relevant times, SCPLLC, SCPI, Zeneca Ag, Zeneca, ICIA, ICI US, and/or ICI

    America was a wholly‐owned U.S. crop‐protection subsidiary of SAG or a predecessor of

    SAG.




                                              8
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 9 of 45 Page ID #9




 36. At all relevant times, PP Limited was a wholly‐owned U.K. crop‐ protection subsidiary of

    ICI Limited, an unincorporated division of ICI Limited, or an unincorporated division of

    ICI PLC.

 37. At all relevant times, SAG and its predecessors exercised a degree of control over their

    crop‐protection subsidiaries so unusually high that these subsidiaries were their agents or

    alter egos.

 b. Chevron U.S.A., Inc.

 38. CUSA is the successor in interest to CHEVRON’s crop‐protection business, in that it has

    expressly assumed any liability on claims arising from the historical operation of that

    business.

 B. Paraquat manufacture, distribution, and sale

 39. ICI Limited discovered the herbicidal properties of paraquat in the mid‐ 1950s; developed

    herbicide formulations containing paraquat as an active ingredient in the early 1960s; and

    produced the first commercial paraquat formulation, which it registered it in England and

    introduced in certain markets under the brand name GRAMOXONE®, in 1962.

 40. ICI Limited was awarded a U.S. patent on herbicide formulations containing paraquat as

    an active ingredient in 1962.

 41. In May 1964, ICI Limited, PP Limited, and CHEVRON entered into an agreement for the

    distribution of paraquat in the U.S. and the licensing of certain paraquat‐related patents,

    trade secrets, and other intellectual property (“paraquat licensing and distribution

    agreement”).

 42. As a result of the May 1964 paraquat licensing and distribution agreement, paraquat

    became commercially available for use in the U.S. in or about 1965.



                                             9
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 10 of 45 Page ID #10




  43. In April 1975, ICI Limited, ICI US, and CHEVRON entered into a new paraquat licensing

     and distribution agreement that superseded the May 1964 agreement.

  44. In November 1981, ICIA, CHEVRON, and ICI PLC entered into a new paraquat licensing

     and distribution agreement, effective January 1982, which superseded in part and amended

     in part the April 1975 agreement.

  45. From approximately May 1964 through approximately September 1986, pursuant to these

     paraquat licensing and distribution agreements, ICI and CHEVRON acted in concert in all

     aspects of the U.S. paraquat business.

  46. In September 1986, ICI and CHEVRON entered into an agreement terminating their

     paraquat licensing and distribution agreement.

  47. Under the September 1986 termination agreement, ICI paid CHEVRON for the early

     termination of CHEVRON’s rights under their paraquat licensing and distribution

     agreement.

  48. Although the September 1986 termination agreement gave ICI the right to buy, or exchange

     for ICI‐labeled paraquat products, CHEVRON‐labeled paraquat products that CHEVRON

     had already sold to its distributors, CHEVRON‐labeled paraquat products continued to be

     sold for use in the U.S. after this agreement up and through the year 1989.

  49. SAG, SAG’s predecessors, and subsidiaries of SAG and its predecessors (collectively,

     “SYNGENTA”), have at all relevant times manufactured more paraquat used as an active

     ingredient in paraquat products formulated and distributed for sale and use in the U.S.,

     including the State(s) of Exposure, than all other paraquat manufacturers combined.




                                              10
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 11 of 45 Page ID #11




  50. From the mid‐1960s through at least 1986, SYNGENTA (as ICI) was the only

     manufacturer of paraquat used as an active ingredient in paraquat products formulated and

     distributed for sale and use in the U.S., including the State(s) of Exposure.

  51. From approximately September 1986 through the present, SYNGENTA has:

         a. manufactured paraquat for use as an active ingredient in paraquat products
            formulated and distributed for sale and use in the U.S., including the State(s) of
            Exposure;

         b. distributed paraquat for use as an active ingredient in paraquat products formulated
            and distributed for sale and use in the U.S., including the State(s) of Exposure;

         c. formulated paraquat products distributed for sale and use in the U.S., including the
            State(s) of Exposure; and

         d. distributed paraquat products for sale and use in the U.S., including the State(s) of
            Exposure.

  C. Paraquat use

  52. Defendants’ paraquat products have been used in the U.S. to kill broadleaf weeds and

     grasses before the planting or emergence of more than 100 field, fruit, vegetable, and

     plantation crops, to control weeds in orchards, and to desiccate (dry) plants before harvest.

     At all relevant times, the use of Defendants’ paraquat products for these purposes was

     intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON.

  53. Defendants’ paraquat products were commonly used multiple times per year on the same

     ground, particularly when used to control weeds in orchards and in farm fields where

     multiple crops are planted in the same growing season or year. At all relevant times, the

     use of Defendants’ paraquat products in this manner was intended or directed by or

     reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

     CHEVRON.


                                              11
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 12 of 45 Page ID #12




  54. Defendants’ paraquat products were typically sold to end users in the form of liquid

     concentrates that were then diluted with water in the tank of a sprayer and applied by

     spraying the diluted product onto target weeds. At all relevant times, the use of Defendants’

     paraquat products in this manner was intended or directed by or reasonably foreseeable to,

     and was known to or foreseen by, SYNGENTA and CHEVRON.

  55. Defendants’ paraquat products were typically formulated with a surfactant or surfactants,

     and/or a surfactant, surfactant product, or “crop oil,” which typically contains one or more

     surfactants, was commonly added by users of Defendants’ products, to increase the ability

     of paraquat to stay in contact with and penetrate the leaves of target plants and enter plant

     cells. At all relevant times, the use of Defendants’ paraquat products as so formulated

     and/or with such substances added was intended or directed by or reasonably foreseeable

     to, and was known to or foreseen by, SYNGENTA and CHEVRON.

  56. Knapsack sprayers, hand‐held sprayers, aircraft (i.e., crop dusters), trucks with attached

     pressurized tanks, and tractor‐drawn pressurized tanks, were commonly used to apply

     Defendants’ paraquat products. At all relevant times, the use of such equipment for that

     purpose was intended or directed by or reasonably foreseeable to, and was known to or

     foreseen by, SYNGENTA and CHEVRON.

  D. Paraquat exposure

  57. When Defendants’ paraquat products were used in a manner that was intended and directed

     by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

     CHEVRON, persons who used them and others nearby were commonly exposed to

     paraquat while it was being mixed and loaded into the tanks of sprayers, including as a

     result of spills, splashes, and leaks. At all relevant times, it was reasonably foreseeable to,



                                               12
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 13 of 45 Page ID #13




     and known to or foreseen by, SYNGENTA and CHEVRON that such exposure commonly

     would and did occur and would and did create a substantial risk of harm to the persons

     exposed.

  58. When Defendants’ paraquat products were used in a manner that was intended and directed

     by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

     CHEVRON, persons who sprayed them, and others nearby while they were being sprayed

     or when they recently had been sprayed, commonly were exposed to paraquat, including

     as a result of spray drift (the movement of herbicide spray droplets from the target area to

     an area where herbicide application was not intended, typically by wind), contact with

     sprayed plants and being exposed by paraquat that was absorbed into the soil and ground

     water and wells. At all relevant times, it was reasonably foreseeable to, and known to or

     foreseen by, SYNGENTA and CHEVRON, that such exposure commonly would and did

     occur and would and did create a substantial risk of harm to the persons exposed.

  59. When Defendants’ paraquat products were used in a manner that was intended and directed

     by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

     CHEVRON, persons who used them and other persons nearby commonly were exposed to

     paraquat, including as a result of spills, splashes, and leaks, while equipment used to spray

     it was being emptied or cleaned or clogged spray nozzles, lines, or valves were being

     cleared. At all relevant times, it was reasonably foreseeable to, and was known to or

     foreseen by, SYNGENTA and CHEVRON that such exposure commonly would and did

     occur and would and did create a substantial risk of harm to the persons exposed.

  60. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a



                                              13
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 14 of 45 Page ID #14




     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat could and did enter the human body via absorption through or penetration

     of the skin, mucous membranes, and other epithelial tissues, including tissues of the mouth,

     nose and nasal passages, trachea, and conducting airways, particularly where cuts,

     abrasions, rashes, sores, or other tissue damage was present, and that paraquat that entered

     the human body in one or more of these ways would and did create a substantial risk of

     harm to people so exposed.

  61. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat could and did enter the human body via respiration into the lungs, including

     the deep parts of the lungs where respiration (gas exchange) occurs, and that paraquat that

     entered the human body in this way would and did create a substantial risk of harm to

     people so exposed.

  62. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat could and did enter the human body via ingestion into the digestive tract

     of small droplets swallowed after entering the mouth, nose, or conducting airways, and that




                                              14
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 15 of 45 Page ID #15




     paraquat that entered the human body in this way would and did create a substantial risk

     of harm to people so exposed.

  63. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat that entered the human body via ingestion into the digestive tract could and

     did enter the enteric nervous system (the part of the nervous system that governs the

     function of the gastrointestinal tract), and that paraquat that entered the enteric nervous

     system would and did create a substantial risk of harm to people so exposed.

  64. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat that entered the human body, whether via absorption, respiration, or

     ingestion, could and did enter the bloodstream, and that paraquat that entered the

     bloodstream would and did create a substantial risk of harm to people so exposed.

  65. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat that entered the bloodstream could and did enter the brain, whether through

     the blood‐brain barrier or parts of the brain not protected by the blood‐brain barrier, and



                                              15
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 16 of 45 Page ID #16




     that paraquat that entered the brain would and did create a substantial risk of harm to people

     so exposed.

  66. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a

     result, paraquat that entered the nose and nasal passages could and did enter the brain

     through the olfactory bulb (a part of the brain involved in the sense of smell), which is not

     protected by the blood‐brain barrier, and that paraquat that entered the olfactory bulb would

     and did create a substantial risk of harm to people so exposed.

  67. At all relevant times, it was reasonably foreseeable to, and was known to or foreseen by,

     SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a

     manner that was intended and directed by or reasonably foreseeable to, and was known to

     or foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat

     products that contained surfactants or had surfactants added to them, the surfactants would

     and did increase the toxicity of paraquat toxicity to humans by increasing its ability to stay

     in contact with or penetrate cells and cellular structures, including but not limited to the

     skin, mucous membranes, and other epithelial and endothelial tissues, including tissues of

     the mouth, nose and nasal passages, trachea, conducting airways, lungs, gastrointestinal

     tract, blood‐brain barrier, and neurons, and that this would and did increase the already

     substantial risk of harm to people so exposed.

  E. Parkinson’s disease




                                              16
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 17 of 45 Page ID #17




  68. Parkinson’s disease is a progressive neurodegenerative disorder of the brain that affects

     primarily the motor system, the part of the central nervous system that controls movement.

  69. The characteristic symptoms of Parkinson’s disease are its “primary” motor symptoms:

     resting tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness

     in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

     movement), and postural instability (impaired balance).

  70. Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

     symptoms such as freezing of gait; shrinking handwriting; mask‐ like expression; slurred,

     monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination;

     difficulty swallowing; and excess saliva and drooling caused by reduced swallowing

     movements.

  71. Non‐motor symptoms—such as loss of or altered sense of smell; constipation; low blood

     pressure on rising to stand; sleep disturbances; and depression—are present in most cases

     of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

  72. There is currently no cure for Parkinson’s disease; no treatment will stop or reverse its

     progression, and the treatments most commonly prescribed for its motor symptoms tend to

     become progressively less effective, and to cause unwelcome side effects, the longer they

     are used.

  73. The selective degeneration and death of dopaminergic neurons (dopamine‐producing nerve

     cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) is one of the

     primary pathophysiological hallmarks of Parkinson’s disease.




                                              17
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 18 of 45 Page ID #18




  74. Dopamine is a neurotransmitter (a chemical messenger that transmits signals from one

     neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

     motor function (among other things).

  75. The death of dopaminergic neurons in the SNpc decreases the production of dopamine.

  76. Once dopaminergic neurons die, they are not replaced; when enough dopaminergic neurons

     have died, dopamine production falls below the level the brain requires for proper control

     of motor function, resulting in the motor symptoms of Parkinson’s disease.

  77. The presence of Lewy bodies (insoluble aggregates of a protein called alpha‐synuclein) in

     many of the remaining dopaminergic neurons in the SNpc is another of the primary

     pathophysiological hallmarks of Parkinson’s disease.

  78. Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance in the

     normal balance between oxidants present in cells and cells’ antioxidant defenses.

  79. Scientists who study Parkinson’s disease generally agree that oxidative stress is a major

     factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

     neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic

     neurons that are the primary pathophysiological hallmarks of Parkinson’s disease.

  F. Paraquat’s toxicity

  80. Paraquat is highly toxic to both plants and animals because it causes and contributes to

     cause the degeneration and death of living cells in both plants and animals.

  81. Paraquat causes and contributes to cause the degeneration and death of plant and animal

     cells both directly, through oxidation, and indirectly, through oxidative stress created or

     aggravated by the “redox cycling” of paraquat; these processes damage lipids, proteins,

     and nucleic acids, molecules that are essential components of the structures and functions



                                               18
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 19 of 45 Page ID #19




     of living cells, and interfere with cellular functions—in plant cells, with photosynthesis,

     and in animal cells, with cellular respiration—that are essential to cellular health.

  82. In both plant and animal cells, paraquat undergoes redox cycling that creates or aggravates

     oxidative stress because of the “redox properties” inherent in paraquat’s chemical

     composition and structure: paraquat is both a strong oxidant and has a high propensity to

     undergo redox cycling, and to do so repeatedly, in the presence of a suitable reductant and

     molecular oxygen, both of which are present in all living cells.

  83. The redox cycling of paraquat in living cells creates a “reactive oxygen species” known as

     superoxide radical, an extremely reactive molecule that can and often does initiate a

     cascading series of chemical reactions that can and often do create other reactive oxygen

     species that damage lipids, proteins, and nucleic acids, molecules that are essential

     components of the structures and functions of living cells.

  84. Because the redox cycling of paraquat can repeat indefinitely in the conditions typically

     present in living cells, a single molecule of paraquat can trigger the production of countless

     molecules of destructive superoxide radical. After even a tiny amount of paraquat enters

     the human brain, paraquat molecules continue to undergo redox cycling and continue to

     cause damage to human brain cells. This repeated cycling continues in the presence of

     oxygen and continues to cause the death of dopaminergic neurons, eventually resulting in

     the onset of Parkinson’s disease. However, even after the onset of Parkinson’s disease, the

     redox cycling continues to cause brain cell damage and death for as long as the victim lives.

  85. The oxidation and redox potentials of paraquat have been known to science since at least

     the 1930s, and in the exercise of ordinary care should have been known, and were known,

     to SYNGENTA and CHEVRON at all relevant times.



                                               19
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 20 of 45 Page ID #20




  86. That paraquat is highly toxic to all living cells—both plant cells and all types of animal

     cells—has been known to science since at least the mid‐1960s, and in the exercise of

     ordinary care should have been known, and was known, to SYNGENTA and CHEVRON

     at all relevant times.

  87. The high toxicity of paraquat to living cells of all types creates a substantial risk of harm

     to persons exposed to paraquat, which SYNGENTA and CHEVRON should have known

     in the exercise of ordinary care, and did know, at all relevant times.

  88. The same oxidation and redox potentials that make paraquat highly toxic to plant cells and

     other types of animal cells make paraquat highly toxic to nerve cells, including

     dopaminergic neurons, and create a substantial risk of neurotoxic harm to persons exposed

     to paraquat. SYNGENTA and CHEVRON should have known this in the exercise of

     ordinary care, and did know this, at all relevant times.

  G. Paraquat and Parkinson’s disease

  89. The scientific community overwhelmingly agrees that paraquat causes Parkinson’s disease.

  90. Although Parkinson’s disease is not known to occur naturally in any species other than

     humans, Parkinson’s disease research is often performed using “animal models,” in which

     scientists artificially produce in laboratory animals’ conditions that show features

     characteristic of Parkinson’s disease in humans.

  91. Paraquat is one of only a handful of toxins that scientists use to produce animal models of

     Parkinson’s disease.

  92. In animal models of Parkinson’s disease, hundreds of studies involving various routes of

     exposure have found that paraquat causes the degeneration and death of dopaminergic

     neurons in the SNpc, other pathophysiology consistent with that seen in human Parkinson’s



                                               20
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 21 of 45 Page ID #21




     disease, and motor deficits and behavioral changes consistent with those commonly seen

     in human Parkinson’s disease.

  93. Hundreds of in vitro studies (experiments in a test tube, culture dish, or other controlled

     experimental environment) have found that paraquat causes the degeneration and death of

     dopaminergic neurons.

  94. Many epidemiological studies (studies of the patterns and causes of disease in defined

     populations) have found an association between paraquat exposure and Parkinson’s

     disease, including multiple studies finding a two‐ to five‐fold or greater increase in the risk

     of Parkinson’s disease in populations with occupational exposure to paraquat compared to

     populations without such exposure.



  H. Paraquat regulation

  95. The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136 et

     seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

     that pesticides be registered with the EPA prior to their distribution, sale, or use, except as

     described by FIFRA. 7 U.S.C. 136a(a).

  96. As part of the pesticide registration process, the EPA requires, among other things, a variety

     of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

     potential non‐target organisms, and other adverse effects on the environment.

  97. As a general rule, FIFRA requires registrants—not the EPA—to perform health and safety

     testing of pesticides, and the EPA generally does not perform such testing.

  98. The EPA registers (or re‐registers) a pesticide if it believes, based largely on studies and

     data submitted by the registrant, that:



                                               21
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 22 of 45 Page ID #22




         a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
            136a(c)(5)(A);

         b. its labeling and other material required to be submitted comply with the
            requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B);

         c. it will perform its intended function without unreasonable adverse effects on the
            environment, 7 U.S.C. § 136a(c)(5)(C); and

         d. when used in accordance with widespread and commonly recognized practice it
            will not generally cause unreasonable adverse effects on the environment, 7 U.S.C.
            § 136a(c)(5)(D).

  99. FIFRA defines “unreasonable adverse effects on the environment” as “any unreasonable

     risk to man or the environment, taking into account the economic, social, and

     environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

  100.      Under FIFRA, “As long as no cancellation proceedings are in effect registration of

     a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging

     comply with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

  101.      However, FIFRA further provides that “In no event shall registration of an article

     be construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C. §

     136a(f)(2).

  102.      FIFRA further provides that “…it shall be unlawful for any person in any State to

     distribute or sell to any person… any pesticide which is… misbranded.” 7 U.S.C. §

     136j(a)(1)(E).

  103.      A pesticide is misbranded under FIFRA if, among other things:

         a. its labeling bears any statement, design, or graphic representation relative thereto
            or to its ingredients which is false or misleading in any particular, 7 U.S.C. §
            136(q)(1)(A);

         b. the labeling accompanying it does not contain directions for use which are
            necessary for effecting the purpose for which the product is intended and if
            complied with, together with any requirements imposed under section 136a(d) of


                                             22
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 23 of 45 Page ID #23




            this title, are adequate to protect health and the environment, 7 U.S.C. §
            136(q)(1)(F); or

         c. the label does not contain a warning or caution statement which may be necessary
            and if complied with, together with any requirements imposed under section
            136a(d) of this title, is adequate to protect health and the environment,” 7 U.S.C. §
            136(q)(1)(G).

  104.      Plaintiff does not seek in this action to impose on Defendants any labeling or

     packaging requirement in addition to or different from those required under FIFRA;

     accordingly, any allegation in this complaint that a Defendant breached a duty to provide

     adequate directions for the use of paraquat or warnings about paraquat, breached a duty to

     provide adequate packaging for paraquat, or concealed, suppressed, or omitted to disclose

     any material fact about paraquat or engaged in any unfair or deceptive practice regarding

     paraquat, is intended and should be construed to be consistent with that alleged breach,

     concealment, suppression, or omission, or unfair or deceptive practice, having rendered the

     paraquat “misbranded” under FIFRA.

  105.      Plaintiff brings claims and seek relief in this action only under state law. Plaintiff

     does not bring any claims or seek any relief in this action under FIFRA.

                 VI.    FRAUDULENT CONCEALMENT AND TOLLING

  106.      Plaintiff did not discover this earlier because Plaintiff had no reason to suspect that

     Plaintiff’s contact with Paraquat could cause Plaintiff to suffer Parkinson’s disease.

  107.      Defendants took active steps to conceal this harmful side effect of Paraquat.

  108.      Indeed, in response to growing concerns regarding the safety of Paraquat, Syngenta

     published    a    website    at   www.paraquat.com         and    specifically    the    page

     https://www.paraquat.com/en/safety/safety-humans/paraquat-and-parkinsons-disease           as

     well as https://www.syngenta.com/sites/syngenta/files/pdf/a-review-of-rviews.pdf (all



                                              23
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 24 of 45 Page ID #24




     three sites last visited on October 20, 2023) for the purpose of convincing the public that

     Paraquat is safe.

  109.       Syngenta’s statements proclaiming the safety of Paraquat and disregarding its

     dangers were designed to mislead the agricultural community and the public at large –

     including Plaintiff.

  110.       Defendants knew or should have known that Paraquat was a highly toxic substance

     that can cause severe neurological injuries and impairment.

  111.       However, despite this knowledge, Defendants continued to promote its product as

     safe.

  112.       Defendants did not make this knowledge known to Plaintiff or the general public.

     Indeed, Defendants failed to adequately warn and instruct Plaintiff and Plaintiff of a

     possible association between Paraquat use and Parkinson’s disease.

  113.       Even today, Syngenta disavows any connection between Paraquat and Parkinson’s

     disease.

  114.       Defendants’ acts and omissions were a legal, proximate, and substantial factor in

     causing Plaintiff to suffer severe and permanent physical injuries, pain, mental anguish,

     and disability, as well as economic loss, and will continue to do so for the remainder of

     Plaintiff’s life.

  115.       All applicable statutes of limitations have been tolled by Defendants’ knowing and

     active fraudulent concealment and denial of the facts alleged herein throughout the time

     period relevant to this action.




                                             24
    Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 25 of 45 Page ID #25




             VII.   ALLEGATIONS COMMON TO SPECIFIC CAUES OF ACTION6

A. Strict Product Liability – Design Defect

      116.      At all relevant times, Defendants and those with whom they were acting in concert

         were engaged in the business of designing, manufacturing, and selling paraquat within the

         U.S.

      117.      At all relevant times, Defendants and those with whom they were acting in concert

         intended and expected that Defendants’ paraquat products would be sold and used in the

         State(s) of Exposure.7

      118.      Defendants and those with whom they were acting in concert developed, registered,

         manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

         products, and developed, registered, formulated and distributed Defendants’ paraquat

         products for sale and use in the U.S., including the State(s) of Exposure.

      119.      Upon information and belief, for many years, Plaintiff used Defendants’ paraquat

         products in the State(s) of Exposure repeatedly and regularly for hours at a time, resulting

         in the repeated, regular, and prolonged exposure of Plaintiff to paraquat.




6
  When used in an allegation in section VII or VIII of this Complaint, where the name of the party
is not specified: (1) “Defendant” refers to the Defendant or Defendants from whom relief is sought
in the Count in which the allegation appears or is incorporated and/or the predecessors of that
Defendant or those Defendants; and (2) “Plaintiff” refers to the Plaintiff seeking relief in the Count
in which the allegation appears or is incorporated, where the Count seeks damages for personal
injuries.
7
  When used in an allegation in section VII or VIII of this Complaint, “Defendants’ paraquat
products”: (1) refers to ICI‐CHEVRON paraquat products and/or ICI‐SYNGENTA paraquat
products when the allegation appears or is incorporated in a Count directed to SCPLLC and
SAG; refers only to ICI‐ CHEVRON paraquat products when the allegation appears or is
incorporated in a Count directed to CUSA.

                                                  25
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 26 of 45 Page ID #26




  120.      At all relevant times, Defendants’ paraquat products were in a defective condition

     that made them unreasonably dangerous when used in a manner that was intended or

     directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants and

     those with whom they were acting in concert, in that:

         a. they were designed, manufactured, formulated, and packaged such that when so
            used, paraquat was likely to be inhaled, ingested, and absorbed into the bodies of
            persons who used them, were nearby while they were being used, or entered fields
            or orchards where they had been sprayed or areas near where they had been sprayed;
            and

         b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
            nearby while they were being used, or entered fields or orchards where they had
            been sprayed or areas near where they had been sprayed, paraquat was likely to
            cause or contribute to cause latent, permanent, and cumulative neurological
            damage, and repeated exposures were likely to cause or contribute to cause
            clinically significant neurodegenerative disease, including Parkinson’s disease, to
            develop over time and manifest long after exposure.

  121.      At all relevant times, this defective condition in Defendants’ paraquat products

     existed when they left the control of Defendants and those with whom they were acting in

     concert and were placed into the stream of commerce.

  122.      At all relevant times, Defendants and those with whom they were acting in concert

     knew or foresaw that this defective condition of Defendants’ paraquat products would

     create a substantial risk of harm to persons who used them, were nearby while they were

     being used, or entered fields or orchards where they had been sprayed or areas near where

     they had been sprayed, but in conscious disregard for the safety of others, including

     Plaintiff, continued to place them into the stream of commerce.

  123.      As a result of this defective condition, Defendants’ paraquat products either failed

     to perform in the manner reasonably to be expected in light of their nature and intended

     function, or the magnitude of the dangers outweighed their utility.



                                             26
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 27 of 45 Page ID #27




  124.      At all relevant times, Defendants’ paraquat products were used in a manner that

     was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

     Defendants and those with whom they were acting in concert.

  125.      At all relevant times, Defendants concealed the defective condition of their product

     from Plaintiff thus preventing Plaintiff from discovering the causal link between Plaintiff’s

     injury and paraquat.

  B. Strict Product Liability – Failure to Warn

  126.      At all relevant times, Defendants and those with whom it was acting in concert were

     engaged in the U.S. paraquat business.

  127.      At all relevant times, Defendants and those with whom it was acting in concert

     intended and expected that Defendants’ paraquat products would be sold and used in the

     State(s) of Exposure.

  128.      Defendants and those with whom they were acting in concert developed, registered,

     manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

     products, and developed, registered, formulated and distributed Defendants’ paraquat

     products for sale and use in the U.S., including the State(s) of Exposure.

  129.      For many years, Plaintiff used Defendants’ paraquat products in the State(s) of

     Exposure repeatedly and regularly for hours at a time, resulting in the repeated, regular,

     and prolonged exposure of Plaintiff to paraquat.

  130.      At all relevant times, Defendants and those with whom they were acting in concert

     should have known in the exercise of ordinary care, and did know, that when used in a

     manner that was intended or directed by or reasonably foreseeable to, and was known to or

     foreseen by, Defendants and those with whom they were acting in concert:



                                              27
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 28 of 45 Page ID #28




         a. Defendants’ paraquat products were designed, manufactured, formulated, and
            packaged such that when so used, paraquat was likely to be inhaled, ingested, and
            absorbed into the bodies of persons who used them, were nearby while they were
            being used, or entered fields or orchards where they had been sprayed or areas near
            where they had been sprayed; and

         b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
            nearby while they were being used, or entered fields or orchards where they had
            been sprayed or areas near where they had been sprayed, paraquat was likely to
            cause or contribute to cause latent, cumulative, and permanent neurological
            damage, and repeated exposures were likely to cause or contribute to cause
            clinically significant neurodegenerative disease, including Parkinson’s disease, to
            develop over time and manifest long after exposure.

  131.      At all relevant times, Defendants’ paraquat products were in a defective condition

     that made them unreasonably dangerous when used in a manner that was intended or

     directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants and

     those with whom they were acting in concert, in that:

         a. they were not accompanied by directions for use that would have made paraquat
            unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used
            them, were nearby while they were being used, or entered fields or orchards where
            they had been sprayed or areas near where they had been sprayed; and

         b. they were not accompanied by a warning that when inhaled, ingested, or absorbed
            into the bodies of persons who used them, were nearby while they were being used,
            or entered fields or orchards where they had been sprayed or areas near where they
            had been sprayed, paraquat was likely to cause or contribute to cause latent,
            cumulative, and permanent neurological damage, and that repeated exposures were
            likely to cause or contribute to cause clinically significant neurodegenerative
            disease, including Parkinson’s disease, to develop over time and manifest long after
            exposure.

  132.      At all relevant times, this defective condition in Defendants’ paraquat products

     existed when they left the control of Defendants and those with whom they were acting in

     concert and were placed into the stream of commerce.

  133.      At all relevant times, Defendants and those with whom they were acting in concert

     knew this defective condition of Defendants’ paraquat products created a substantial risk



                                             28
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 29 of 45 Page ID #29




     of harm to persons who used them, were nearby while they were being used, or entered

     fields or orchards where they had been sprayed or areas near where they had been sprayed,

     but in conscious disregard for the safety of others, including Plaintiff, continued to place

     them into the stream of commerce.

  134.      As a result of this defective condition, Defendants’ paraquat products either failed

     to perform in the manner reasonably to be expected in light of their nature and intended

     function, or the magnitude of the dangers outweighed their utility.

  135.      At all relevant times, Defendants’ paraquat products were used in a manner that

     was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

     Defendants and those with whom they were acting in concert.

  136.      At all relevant times, Defendants’ concealed the defective condition of their product

     from Plaintiff thus preventing Plaintiff from discovering the causal link between their

     injury and paraquat.

  C. Negligence

  137.      At all relevant times, Defendants and those with whom they were acting in concert

     were engaged in the U.S. paraquat business.

  138.      At all relevant times, Defendants and those with whom they were acting in concert

     intended and expected that Defendants’ paraquat products would be sold and used in the

     State(s) of Exposure.

  139.      Defendants and those with whom they were acting in concert developed, registered,

     manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

     products, and developed, registered, formulated and distributed Defendants’ paraquat

     products for sale and use in the U.S., including the State(s) of Exposure.



                                              29
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 30 of 45 Page ID #30




  140.      Upon information and belief, for many years, Plaintiff used Defendants’ paraquat

     products in the State(s) of Exposure repeatedly and regularly for hours at a time, resulting

     in the repeated, regular, and prolonged exposure of Plaintiff to paraquat.

  141.      At all relevant times, in designing, manufacturing, and distributing paraquat for use

     in formulating paraquat products and in designing, formulating, packaging, labeling, and

     distributing paraquat products, Defendants and those with whom they were acting in

     concert owed a duty to exercise ordinary care for the health and safety of persons, including

     Plaintiff, whom it was reasonably foreseeable could be exposed to paraquat in such

     products.

  142.      When Defendants and those with whom they were acting in concert designed,

     manufactured, and distributed paraquat for use in formulating Defendants’ paraquat

     products and designed, formulated, packaged, labeled, and distributed Defendants’

     paraquat products, it was reasonably foreseeable and in the exercise of ordinary care

     Defendant should have known, and Defendant did know, that when Defendants’ paraquat

     products were used in a manner that was intended or directed by or reasonably foreseeable

     to, and was known to or foreseen by, Defendants and those with whom they were acting in

     concert:

         a. they were designed, manufactured, formulated, and packaged such that paraquat
            was likely to be inhaled, ingested, and absorbed into the bodies of persons who used
            them, were nearby while they were being used, or entered fields or orchards where
            they had been sprayed or areas near where they had been sprayed; and

         b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
            nearby while they were being used, or entered fields or orchards where they had
            been sprayed or areas near where they had been sprayed, paraquat was likely to
            cause or contribute to cause latent, cumulative, and permanent neurological
            damage, and repeated exposures were likely to cause or contribute to cause
            clinically significant neurodegenerative disease, including Parkinson’s disease, to
            develop over time and manifest long after exposure.


                                              30
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 31 of 45 Page ID #31




  143.        In breach of their duty to Plaintiff, Defendants and those with whom they were

     acting in concert negligently, and in conscious disregard for the safety of others:

         a. failed to design, manufacture, formulate, and package Defendants’ paraquat
              products to make paraquat unlikely to be inhaled, ingested, and absorbed into the
              bodies of persons who used them, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed;

         b. designed and manufactured paraquat and designed and formulated Defendants’
              paraquat products such that when inhaled, ingested, or absorbed into the bodies of
              persons who used Defendants’ paraquat products, were nearby while they were
              being used, or entered fields or orchards where they had been sprayed or areas near
              where they had been sprayed, paraquat was likely to cause or contribute to cause
              latent, cumulative, and permanent neurological damage, and repeated exposures
              were likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long after
              exposure;

         c. failed to perform adequate testing to determine the extent to which exposure to
              paraquat was likely to occur through inhalation, ingestion, and absorption into the
              bodies of persons who used Defendants’ paraquat products, were nearby while they
              were being used, or entered fields or orchards where they had been sprayed or areas
              near where they had been sprayed;

         d. failed to perform adequate testing to determine the extent to which spray drift from
              Defendants’ paraquat products was likely to occur, including their propensity to
              drift, the distance they were likely to drift, and the extent to which paraquat spray
              droplets were likely to enter the bodies of persons spraying Defendants’ paraquat
              products or nearby during or after spraying;

         e. failed to perform adequate testing to determine the extent to which paraquat, when
              inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
              paraquat products, were nearby while they were being used, or entered fields or
              orchards where they had been sprayed or areas near where they had been sprayed,
              was likely to cause or contribute to cause latent, cumulative, and permanent
              neurological damage, and the extent to which repeated exposures were likely to
              cause or contribute to cause clinically significant neurodegenerative disease,
              including Parkinson’s disease, to develop over time and manifest long after
              exposure;

         f.   failed to perform adequate testing to determine the extent to which paraquat, when
              formulated or mixed with surfactants or other pesticides or used along with other
              pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used


                                               31
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 32 of 45 Page ID #32




            Defendants’ paraquat products, were nearby while they were being used, or entered
            fields or orchards where they had been sprayed or areas near where they had been
            sprayed, was likely to cause or contribute to cause latent, cumulative, and
            permanent neurological damage, and the extent to which repeated exposures were
            likely to cause or contribute to cause clinically significant neurodegenerative
            disease, including Parkinson’s disease, to develop over time and manifest long after
            exposure;

         g. failed to direct that Defendants’ paraquat products be used in a manner that would
            have made it unlikely for paraquat to have been inhaled, ingested, and absorbed
            into the bodies of persons who used them, were nearby while they were being used,
            or entered fields or orchards where they had been sprayed or areas near where they
            had been sprayed; and

         h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons
            who used Defendants’ paraquat products, were nearby while they were being used,
            or entered fields or orchards where they had been sprayed or areas near where they
            had been sprayed, paraquat was likely to cause or contribute to cause latent,
            cumulative, and permanent neurological damage, and repeated exposures were
            likely to cause or contribute to cause clinically significant neurodegenerative
            disease, including Parkinson’s disease, to develop over time and manifest long after
            exposure.

  144.      At all relevant times, Defendants’ paraquat products were used in a manner that

     was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

     Defendants and those with whom they were acting in concert.

  145.      At all relevant times, Defendants’ concealed the dangers of their product as listed

     above from Plaintiff thus preventing Plaintiff from discovering the causal link between

     Plaintiff’s injury and paraquat.



  D. Breach of Express Warranties and Implied Warranty of Merchantability

  146.      At all relevant times, Defendants and those with whom they were acting in concert

     were engaged in the U.S. paraquat business.




                                             32
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 33 of 45 Page ID #33




  147.       At all relevant times, Defendants and those with whom they were acting in concert

     intended and expected that Defendants’ paraquat products would be sold and used in the

     State(s) of Exposure.

  148.       Defendants and those with whom they were acting in concert developed, registered,

     manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

     products, and developed, registered, formulated and distributed Defendants’ paraquat

     products for sale and use in the U.S., including the State(s) of Exposure.

  149.       Plaintiff used Defendants’ paraquat products in the State(s) of Exposure repeatedly

     and regularly for hours at a time, resulting in the repeated, regular, and prolonged exposure

     of Plaintiff to paraquat.

  150.       At the time of each sale of Defendants’ paraquat products that resulted in Plaintiff’s

     exposure to paraquat, Defendants and those with whom they were acting in concert made

     express warranties and/or impliedly warranted that that Defendants’ paraquat products

     were of merchantable quality, including that they were fit for the ordinary purposes for

     which such goods were used.

  151.       Defendants and those with whom they were acting in concert breached this

     warranty as to each sale of Defendants’ paraquat products that resulted in Plaintiff’s

     exposure to paraquat, in that Defendants’ paraquat products were not of merchantable

     quality because they were not fit for the ordinary purposes for which such goods were used,

     and in particular:

         a. they were designed, manufactured, formulated, and packaged such that paraquat
             was likely to be inhaled, ingested, and absorbed into the bodies of persons who used
             them, were nearby while they were being used, or entered fields or orchards where
             they had been sprayed or areas near where they had been sprayed; and




                                              33
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 34 of 45 Page ID #34




         b. when inhaled, ingested, or absorbed into the bodies of persons who used
             Defendants’ paraquat products, were nearby while they were being used, or entered
             fields or orchards where they had been sprayed or areas near where they had been
             sprayed, paraquat was likely to cause or contribute to cause latent, cumulative, and
             permanent neurological damage, and repeated exposures were likely to cause or
             contribute to cause clinically significant neurodegenerative disease, including
             Parkinson’s disease, to develop over time and manifest long after exposure.

  E. Fraudulent Misrepresentation
  152.       At all relevant times, Defendants and those with whom they were acting in concert

     were engaged in the U.S. paraquat business.

  153.       At all relevant times, Defendants and those with whom they were acting in concert

     intended and expected that Defendants’ paraquat products would be sold and used in the

     State(s) of Exposure.

  154.       Defendants and those with whom they were acting in concert developed, registered,

     manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

     products, and developed, registered, formulated and distributed Defendants’ paraquat

     products for sale and use in the U.S., including the State(s) of Exposure.

  155.       Plaintiff used Defendants’ paraquat products in the State(s) of Exposure repeatedly

     and regularly for hours at a time, resulting in the repeated, regular, and prolonged exposure

     of Plaintiff to paraquat.

  156.       At the time of each sale of Defendants’ paraquat products that resulted in Plaintiff’s

     exposure to paraquat, Defendants and those with whom they were acting in concert

     fraudulently represented that paraquat products pose no risk to human safety.

  157.       Defendants and those with whom they were acting in concert knew or should have

     been aware of the dangers posed to humans by coming in contact with Defendants’

     paraquat products.



                                              34
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 35 of 45 Page ID #35




  158.         Defendants and those with whom they were acting in concert fraudulently

     misrepresented the safety of Defendants’ paraquat products because they posed a

     significant risk to humans, to wit causing the degeneration and death of dopaminergic

     neurons in the SNpc and the onset of Parkinson’s disease.

                                   COUNT 1
                               ALL DEFENDANTS
                   STRICT PRODUCT LIABILITY – DESIGN DEFECT

  159.         Plaintiff incorporates by reference paragraph 1 through 158 as is fully restated

     herein.

  160.         Defendants designed, manufactured, marketed, and sold their paraquat products

     that were used by Plaintiff, and Defendants were in the business of selling their paraquat

     products.

  161.         Defendants’ paraquat products were in an unsafe, defective, and unreasonably

     dangerous condition at the time they left Defendants’ possession because of their design.

     In particular, Defendants’ paraquat products were defectively designed because they

     caused serious injuries and death, including but not limited to the degeneration and death

     of dopaminergic neurons in the SNpc and the onset of Parkinson’s disease.

  162.         Defendants’ paraquat products are unreasonably dangerous as designed because

     they do not perform safely as an ordinary consumer, including Plaintiff, would expect when

     used in an intended or reasonably foreseeable manner.

  163.         Defendants’ paraquat products are unreasonably dangerous as designed because the

     danger inherent in their design outweighs the benefits of that design.

  164.         Defendants caused their paraquat products to enter the stream of commerce and to

     be sold to consumers, including Plaintiff, through a variety of channels.



                                              35
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 36 of 45 Page ID #36




  165.         Defendants’ paraquat products were expected to, and did, reach consumers,

     including Plaintiff, without substantial change in the condition in which those products

     were manufactured and sold or otherwise released into the stream of commerce by

     Defendants.

  166.         Plaintiff used the Defendants’ paraquat products in the ordinary and expected

     manner it was intended, recommended, promoted, and marketed by Defendants.

  167.         Defendants knew or should have known that their products were in a defective

     condition as a result of their design and were unreasonably dangerous when used in an

     intended or reasonably foreseeable manner.

                                  COUNT 2
                              ALL DEFENDANTS
                 STRICT PRODUCT LIABILITY – FAILURE TO WARN

  168.         Plaintiff incorporates by reference paragraph 1 through 158 as is fully restated

     herein.

  169.         Defendants designed, manufactured, marketed, and sold their paraquat products

     that were used by Plaintiff, and Defendants were in the business of selling paraquat

     products.

  170.         Defendants’ paraquat products were in an unsafe, defective, and unreasonably

     dangerous condition at the time they left Defendants’ possession because they were not

     accompanied by adequate warnings.

  171.         In particular, Defendants knew or should have known that their paraquat products

     could cause serious injuries and death when used in an intended or reasonably foreseeable

     manner, including but not limited to the degeneration and death of dopaminergic neurons

     in the SNpc and the onset of Parkinson’s disease. Defendants failed to give appropriate



                                              36
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 37 of 45 Page ID #37




     and adequate warning of such risks. In fact, Defendants continue to this day to market and

     sell their products to consumers without adequate warnings of the risks associated with

     their use.

  172.         If Defendants had warned Plaintiff that use of their paraquat products as intended

     would increase the risk of being seriously injured, including but not limited to the

     degeneration and death of dopaminergic neurons in the SNpc and the onset of Parkinson’s

     disease, Plaintiff would not have used their paraquat products.

  173.         Defendants caused their paraquat products to enter the stream of commerce and to

     be sold and used by consumers, including Plaintiff, through a variety of channels.

  174.         Defendants’ paraquat products were expected to, and did, reach consumers and

     users, including Plaintiff, without substantial change in the condition in which their

     paraquat products were manufactured and sold or otherwise released into the stream of

     commerce by Defendants.

  175.         Plaintiff used the Defendants’ paraquat products for the purposes and in the manner

     intended, recommended, promoted, and marketed by Defendants.

                                         COUNT 3
                                     ALL DEFENDANTS
                                       NEGLIGENCE

  176.         Plaintiff incorporates by reference paragraph 1 through 158 as is fully restated

     herein.

  177.         At all relevant times, Defendants had a duty to exercise reasonable care in the

     manufacturing, designing, researching, testing, producing, supplying, inspecting,

     marketing, labeling, packaging, selling, and distributing of their paraquat products.




                                               37
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 38 of 45 Page ID #38




  178.      Defendants’ duty to exercise reasonable care in the advertising and sale of their

     paraquat products included a duty to warn Plaintiff and other consumers of the risks and

     dangers associated with their paraquat products that were known or should have been

     known to Defendants at the time of the sale of their products to Plaintiff and their

     employers.

  179.      Defendants also owed a continuing duty to Plaintiff to remove or recall, the unsafe

     and/or defective paraquat products across the United States (including the State(s) of

     Exposure). At all relevant times, Defendants knew or should have known through the

     exercise of reasonable care of the dangers associated with the normal and/or intended use

     of their paraquat products.

  180.      At all relevant times, Defendants knew, or should have known through the exercise

     of reasonable care, that ordinary consumers such as Plaintiff would not realize the potential

     risks and dangers of their paraquat products.

  181.      Defendants breached their duty of care by manufacturing, designing, researching,

     testing, producing, supplying, inspecting, marketing, selling, and/or distributing of their

     paraquat products negligently, recklessly, and/or with extreme carelessness and by failing

     to adequately warn of the risks and dangers of their paraquat products as described in the

     allegations above. Such breaches include but are not limited to:

         a. Failing to warn consumers of the risks and dangers associated with the use of their
            hair relaxer products;

         b. Failing to properly test their paraquat products to determine the adequacy or
            effectiveness of safety measures, if any, prior to releasing their paraquat products
            for consumer use;

         c. Failing to properly test their paraquat products to determine the increased risk of
            harm during the normal and/or intended use of their paraquat products;



                                              38
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 39 of 45 Page ID #39




         d. Designing their paraquat products defectively such that they caused serious injuries
               or death when used in their intended and reasonably foreseeable manner;

         e. Failing to inform consumers as to the safe and proper methods of handling and
               using their paraquat products;

         f.    Failing to remove or recall their paraquat products from the market when
               Defendants knew or should have known their paraquat products were defective
               and/or dangerous;

         g. Marketing and labeling their paraquat products as safe when Defendants knew or
               should have known their paraquat products were defective and/or dangerous;

         h. Claiming in labeling and marketing that their paraquat products are safe; and

         i.    Failing to act like a reasonably prudent company under similar circumstances. Each
               of these acts and omissions, taken singularly or in combination, were a proximate
               cause of the injuries and damages sustained by Plaintiff.

  182.         Defendants knew or should have known that consumers and users such as Plaintiff

     would foreseeably suffer injuries as a result of Defendants’ failure to exercise ordinary care

     as described herein.

  183.         Due to Defendants failure to exercise ordinary care or comply with their duties of

     selling these products, Plaintiff was not able to discover the dangerous nature of

     Defendants’ paraquat products.

                            COUNT 4
                        ALL DEFENDANTS
     BREACH OF EXPRESS WARRANTIES AND IMPLIED WARRANTY OF
                       MERCHANTABILITY

  184.         Plaintiff incorporates by reference paragraph 1 through 158 as is fully restated

     herein.

  185.         Defendants are in the business of manufacturing, supplying, marketing, advertising,

     warranting, and/or selling paraquat products.




                                                39
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 40 of 45 Page ID #40




  186.      Defendants expressly represented and warranted to Plaintiff and the general public,

     through statements made by Defendants or their authorized agents in direct-to-consumer

     marketing, advertisements, and labels, that their paraquat products were safe and effective

     for their reasonably expected and intended use.

  187.      Defendants’ warranties included but are not limited to the warranties that their

     paraquat products are safe, including but not limited to the marketing assertions quoted and

     displayed in the facts alleged above.

  188.      These and other (mis)representations were made directly by the manufacturer or

     seller to consumers and end users of Defendants’ paraquat products, constitute express

     warranties, and became part of the basis of the bargain between the parties and created a

     collective express warranty that their paraquat products would conform to Defendants’

     affirmations and promises.

  189.      Defendants breached their express warranties about their paraquat products and

     their qualities because Defendants’ statements about their paraquat products’ safety were

     false and their paraquat products did not conform to those affirmations and promises.

     Defendants’ paraquat products were not safe, but rather exposed Plaintiff and other

     consumers to unreasonable risks of adverse health effects including the degeneration and

     death of dopaminergic neurons in the SNpc and the onset of Parkinson’s Disease.

  190.      At the time Plaintiff used Defendants’ paraquat products, Defendants knew or

     should have known that Plaintiff would detrimentally rely on Defendants’

     misrepresentations regarding safety.

  191.      Plaintiff used Defendants’ paraquat products reasonably relying upon Defendants’

     warranties.



                                              40
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 41 of 45 Page ID #41




  192.         Plaintiff used Defendants’ paraquat products for the purpose and in the manner

     intended by Defendants.

  193.         Plaintiff could not have discovered the breached warranties or realized Defendants’

     paraquat products’ danger through the use of reasonable care.

  194.         Plaintiff would not have purchased or used Defendants’ paraquat products if they

     had known the truth about the misrepresentations described above, or that Defendants’

     paraquat products were unfit for ordinary use or their particular purpose.

  195.         The breach of the warranties was a substantial factor in bringing about Plaintiff’s

     injuries.

  196.         Defendants’ failure to tender their paraquat products to Plaintiff free of defects

     constitutes a breach of the written warranties covering their paraquat products.

  197.         Defendants are on notice of their defective paraquat products, yet Defendants have

     failed to cure the damage resulting therefrom within a reasonable time.

  198.         Defendants’ breach of warranties was a substantial factor in bringing about

     Plaintiff’s injuries.

                                    COUNT 5
                                ALL DEFENDANTS
                         FRAUDULENT MISREPRESENTATION

  199.         Plaintiff incorporates by reference paragraph 1 through 158 as is fully restated

     herein.

  200.         Defendants, who engaged in the development, manufacture, marketing, sale, and/or

     distribution of paraquat products, owed a duty to Plaintiff and other consumers to provide

     accurate and complete information.




                                               41
    Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 42 of 45 Page ID #42




      201.       Defendants knew or should have known that their paraquat products significantly

         increase the risk of Parkinson’s Disease and other negative health conditions such as the

         degeneration and death of dopaminergic neurons in the SNpc from the evolving scientific

         literature and research over the past decades, yet, Defendants willfully deceived consumers

         by concealing these facts from them, which Defendants had a duty to disclose.

      202.       In addition to monitoring the evolving scientific literature, Defendants were or

         should have been testing their paraquat products to ensure they were not harmful to

         consumers when used in their intended manner.

      203.       At all relevant times, Defendants conducted sales and marketing campaigns that

         willfully deceived consumers as to the benefits, health risks and consequences of using

         Defendants’ paraquat products, to wit:

             a. “There is no risk to human safety with the use of paraquat”;8

             b. “Paraquat does not cause Parkinson’s disease”;9 and

             c. “Paraquat cannot readily be absorbed through the skin.”10

      204.       Defendants knowingly, falsely, deceptively, and inaccurately designated and

         represented that their paraquat products were safe, with the intent to mislead and deceive

         consumers including Plaintiff.

      205.       Defendants fraudulently misrepresented the use of their paraquat products as safe,

         including but not limited to the marketing assertions quoted and displayed in the facts

         alleged above. Defendants willfully and intentionally failed to disclose and concealed




8
  https://www.paraquat.com/en/safety/safety-humans (last visited Oct. 21, 2023)
9
  Id.
10
   Id.

                                                        42
Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 43 of 45 Page ID #43




     material facts and made false representations regarding the dangers and safety concerns of

     their paraquat products.

  206.       Defendants concealed and suppressed the true facts concerning their paraquat

     products.

  207.       Defendants knew that these misrepresentations and/or omissions were material, and

     that they were false, incomplete, misleading, deceptive, and/or deceitful when they were

     made.

  208.       Defendants made the misrepresentations and/or omissions for the purpose of

     deceiving and defrauding consumers, including Plaintiff, with the intention of having them

     act and rely on such misrepresentations and/or omissions.

  209.       Consumers such as Plaintiff relied, with reasonable justification, on the

     misrepresentations by Defendants, which induced them to use Defendants’ paraquat

     products, sometimes on a regular basis for decades. Consumers did not know about safety

     concerns with Defendants’ paraquat products at the time Defendants made their

     misrepresentations and/or omissions, and consumers did not discover the true facts until

     after using Defendants’ paraquat products, nor could they have done so with reasonable

     diligence. Had consumers such as Plaintiff known the true facts, they would not have used

     Defendants’ paraquat products.

  210.       Defendants profited significantly from their unlawful conduct that fraudulently

     induced consumers such as Plaintiff to use the dangerous and defective paraquat products.

  211.       Consumers, including Plaintiff, required, and should have been provided with,

     truthful, accurate, and correct information concerning the safety of Defendants’ paraquat

     products.



                                             43
 Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 44 of 45 Page ID #44




                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demand judgment against Defendants on each of the above-

referenced.

          A.    Awarding compensatory damages, including, but not limited to pain, suffering,

emotional distress, loss of enjoyment of life, and other non-economic damages in an amount to be

determined at trial of this action;

          B.    Awarding economic damages in the form of medical expenses, out of pocket

expenses, lost earnings, and other economic damages in an amount to be determined at trial of this

action;

          C.    Awarding damages and/or equitable relief to provide medical monitoring for the

early detection, diagnosis, and treatment of injuries related to the products and prevention of

exacerbation of such injuries;

          D.    Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless

acts of the Defendants who demonstrated a complete disregard and reckless indifference for the

safety and welfare of the general public and Plaintiff in an amount sufficient to punish Defendants

and deter future similar conduct;

          E.    Statutory damages including treble damages;

          F.    Prejudgment interest;

          G.    Post judgment interest;

          H.    Awarding Plaintiff reasonable attorneys’ fees;

          I.    Awarding Plaintiff the costs of these proceedings; and

          J.    Such other and further relief as this Court deems just and proper.




                                                 44
 Case 3:24-pq-00503-NJR Document 1 Filed 02/22/24 Page 45 of 45 Page ID #45




                                 DEMAND FOR JURY TRIAL

        Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial on all issues

triable by jury.



         Dated: February 22, 2024.                 Respectfully submitted,

                                                   /s/ Mark M. Abramowitz
                                                   Mark M. Abramowitz*
                                                   Mark A. DiCello
                                                   Nicholas M. Horattas*
                                                   DICELLO LEVITT LLP
                                                   8160 Norton Parkway, Third Floor
                                                   Mentor, Ohio 44060
                                                   (440) 953-8888
                                                   mabramowitz@dicellolevitt.com
                                                   madicello@dicellolevitt.com
                                                   nhorattas@dicellolevitt.com

                                                   Diandra S. Debrosse Zimmermann*
                                                   Eli J. Hare*
                                                   DICELLO LEVITT LLP
                                                   420 20th Street North
                                                   Suite 2525
                                                   (205) 740-9555
                                                   Birmingham, Alabama 35203
                                                   fu@dicellolevitt.com
                                                   ehare@dicellolevitt.com


                                                   Counsel for Plaintiff

                                                   *Admitted pro hac vice




                                                 45
